    Case: 1:17-cv-06396 Document #: 24 Filed: 05/25/18 Page 1 of 2 PageID #:376



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

WILHELMINA BROWN, KENTON                         )
JOHNSON and NIKIA DUNBAR                         )
on behalf of themselves                          )
and others similarly situated,                   )
                                                 )
               Plaintiffs,                       )   Case No. 17-cv-6396
                                                 )
                              v.                 )
                                                 )
WORLDPAC, INC.,                                  )   Judge Robert Gettleman
                                                 )
               Defendant.                        )

                               STIPULATION OF DISMISSAL

       Plaintiffs Whilhelmina Brown, Kenton Johnson, and Nikia Dunbar and Defendant

Worlpac, Inc. stipulate that Plaintiffs’ claims against Defendant may be dismissed without

prejudice and that an order to that effect may be entered without further notice.

AGREED:


 /s/ Christopher J. Wilmes                           /s/ Kirsten A. Milton
 Matthew J. Piers                                    Kirsten A. Milton
 Christopher J. Wilmes                               Jackson Lewis PC
 HUGHES, SOCOL, PIERS, RESNICK & DYM, LTD.           150 N. Michigan Ave., Suite 2500
 Three First National Plaza                          Chicago, IL 60601
 70 West Madison Street, Suite 4000
 Chicago, Illinois 60602                             Eric R. Magnus
 312-580-0100                                        Jackson Lewis PC
 Counsel for Plaintiff                               1155 Peachtree St., N.E., Suite 1000
                                                     Atlanta, GA 30309
                                                     Counsel for Defendant
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 25, 2018, I electronically filed the foregoing Stipulation of

Dismissal using the CM/ECF System for filing and transmittal of a Notice of Electronic Filing to

the following CM/ECF Registrants:

       Kirsten A. Milton                             Eric R. Magnus
       Jackson Lewis PC                              Jackson Lewis PC
       150 N. Michigan Ave., Suite 2500              1155 Peachtree St., N.E., Suite 1000
       Chicago, IL 60601                             Atlanta, GA 30309




                                             /s/ Christopher J. Wilmes
                                             One of the Attorneys for Plaintiff




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